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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTIRCT OF FLORIDA
                                       MIAMI DIVISION

  MESA DIGITAL, LLC,                               )
                                                   )
          Plaintiff,                               )
                                                   ) Civil Action No. 1:22-cv-21216- KMW/CMM
  v.                                               )
                                                   )
  VERIFONE, INC.,                                  )
                                                   )
          Defendant.                               )
                                                   )
                                                   )


                             CERTIFICATE OF INTERESTED PARTIES

          Pursuant to Fed. R. Civ. P. 7.1, Plaintiff MESA DIGITAL, LLC (“Plaintiff”) discloses that it

  has no parent corporation, and there is no publicly held corporation that owns 10% or more of any

  stock. Plaintiff shows as follows: A complete list of all persons, associations of persons, firms,

  partnerships, corporations, guarantors, insurers, affiliates, parent or subsidiary corporations, or other

  legal entities that are financially interested in the outcome of the case:

  1. Mesa Digital, LLC

  2. Verifone, Inc.

  3. Ramey & Schwaller, LLP
  4. William P. Ramey, III

  DATED: April 19, 2022                            Respectfully submitted,

                                                   /s/Victoria E. Brieant
                                                   Victoria E. Brieant (CA Bar No. 141519)
                                                   Law Office of Victoria E. Brieant, P.A.
                                                   4000 Ponce de Leon Boulevard, Suite 470
                                                   Coral Gables, FL 33146
                                                   Telephone: (305) 413-9026

                                                   Attorney for Plaintiff
                                                   MESA DIGITAL, LLC

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